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                                                                                         11:26 am, Oct 15 2024
                                                                                         ATBALTIMORE
                                                                                         CLERK,U.S.DISTRICTCOURT
                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT                             DISTRICTOFMARYLAND
                                                                                                 R.M.
                                                                                         BY______________Deputy  
       I, Special Agent Jonathan Evans, being first duly sworn, hereby depose and state as

follows:

                                PURPOSE OF THE AFFIDAVIT

       1.      I submit this affidavit in support of an application for a Criminal Complaint

charging Michael Sam TEEKAYE, Jr. (hereinafter, TEEKAYE) with attempting to provide

material support or resources to a designated foreign terrorist organization, namely, the Islamic

State of Iraq and al-Sham (“ISIS”), in violation of 18 U.S.C. § 2339B.

       2.      The facts set forth in this affidavit are based upon my personal observations, my

training and experience, and information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the

requested complaint and does not purport to set forth all of my knowledge of or investigation into

this matter. Unless specifically indicated otherwise, all conversations and statements described in

this affidavit are related in substance and in part only.

                               BACKGROUND OF AFFIANT

       3.      I am a Special Agent of the Federal Bureau of Investigation (“FBI”), United States

Department of Justice, and have been since 2022. During my career with the FBI, I have been

assigned to investigations of international terrorism and have been trained by the FBI in a variety

of investigative techniques required to facilitate these investigations. Among other things, I have

participated in a variety of law enforcement activities, including investigations, arrests, searches,

seizures, interviews, debriefing informants, review of taped conversations and records, and

surveillance. Additionally, I have participated in several investigations involving the use or


                                                   1
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possession of firearms by persons prohibited, and violations of the National Firearms Act. I am

currently a member of an international terrorism squad of the Baltimore Joint Terrorism Task

Force in the FBI Baltimore Division.

                      FACTS IN SUPPORT OF PROBABLE CAUSE

       4.      On or about October 15, 2004, the United States Secretary of State designated

Jam’at al Tawid wa’ al-Jahid (popularly known as “al-Qaeda in Iraq” (AQI)), as a Foreign Terrorist

Organization (FTO) under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist entity under section l(b) of Executive Order 13224. On or about May

15, 2014, the Secretary of State amended the designation of AQI as an FTO under Section 219 of

the Immigration and Nationality Act and as a Specially Designated Global Terrorist entity under

section l(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant (ISIL)

as its primary name. The Secretary of State also added the following aliases to the FTO listing:

The Islamic State of Iraq and al-Sham (“ISIS” - which is how the FTO will be referenced herein),

The Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla

al Islamiya, and Al-Furquan Establishment for Media Production. On September 21, 2015, the

Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. ISIS

remains a designated FTO.

       5.      On February 26, 2008, the United States Secretary of State designated al-Shabaab

as an FTO under Section 219 of the Immigration and Nationality Act and as a Specially Designated

Global Terrorist under section 1(b) of Executive Order 13224. Al-Shabaab remains a designated

FTO.




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      A. TEEKAYE has a documented history of violent behavior and radical Islamist
         ideology

         6.     Michael Sam TEEKAYE was born in August 2003 and is a 21-year old resident

of Hanover, Maryland in Howard County. TEEKAYE’s mother is from Sierra Leone, and his

father is from Liberia. TEEKAYE lives with his parents and older sister. TEEKAYE recently

worked at Restaurant 1 in Arundel Mills, Maryland. 1 TEEKAYE has a history of mental illness,

and has been diagnosed with autism spectrum disorder, mild intellectual disability, obsessive

compulsive disorder, unspecified depressive disorder, and early onset schizophrenia. 2

         7.     TEEKAYE has made documented threats of violence against his peers since at

least September 2019. In September 2019, TEEKAYE was the subject of an Emergency Petition,

which is a brief involuntary detention of a person who is believed to have a mental illness. A

Howard County Police Department report dated October 1, 2019 indicates that the Emergency

Petition was initiated partly because TEEKAYE “admitted he wanted to cut the head off of [a

fellow student] and kill him.” 3

         8.     The FBI learned of TEEKAYE in December 2019 when the FBI was made aware

of a social media account operated by TEEKAYE expressing extremist Islamist ideology. Shortly




1
  FBI Baltimore has observed TEEKAYE working at Restaurant 1 as of August 9, 2024.
Additional records received from Stride Bank revealed payroll from Restaurant 1 as of August
2024. As discussed further below, investigators believe TEEKAYE no longer works at Restaurant
1 and now works at Restaurant 2.
2
  This information comes from the “History of Present Illness” section of records received from
the Regional Institute for Children and Adolescents (RICA).
3
    See Howard County Police Department Case No. 19-89611.

                                                3
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thereafter, TEEKAYE began interacting with a male Online Covert Employee (“OCE”). In

conversations with the OCE via Instagram between December 4, 2019 and early January 2020,

TEEKAYE told the OCE that his previous Instagram account had been disabled because he was

“posting ‘terrorist content.’” TEEKAYE also told the OCE that he had communicated with a

“brother” online who asked TEEKAYE if he “supported the state and the cause” and wanted

TEEKAYE to “carry out an attack.” In conversations with the OCE via Telegram between

January 11, 2020 and January 14, 2020, TEEKAYE told the OCE he was communicating via

Telegram with a “sister” in a refugee camp overseas who used to live in ISIS territory and still

supported ISIS. TEEKAYE also told the OCE he wanted to arrange a marriage to a Muslim

woman.

       9.      On January 17, 2020, via Telegram, TEEKAYE told the OCE: “I’ve been thinking

of making Hijra 4 to Somalia.” The OCE asked when, to which TEEKAYE replied, “I don’t know

when I get older you want to come?” The OCE said, “Akhi I am willing but how would we get

there? Do you have a contact who can help us?” TEEKAYE responded, “No but it’s easier since

it’s a poor country we can just go to a village that they control.” When the OCE asked who they

would join, TEEKAYE replied, “The Islamic state or al shabab.” He added, “I say al shabab,

you[?]” Between January 17, 2020 and January 22, 2020, TEEKAYE continued to discuss plans

to travel abroad to join al Shabaab with the OCE via Telegram.




4
  “Hijra,” alternatively spelled “hijrah,” is an Arabic word meaning “exodus, migration, or
breaking of ties.” Based on my training, experience, and participation in this investigation, I know
that “hijra” is often used by those with extremist views to describe a foreign fighter’s journey
abroad to wage jihad.

                                                 4
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         10.    On January 23, 2020, the FBI spoke to TEEKAYE and his parents and conducted

a consensual search of TEEKAYE’s cell phone and laptop.

         11.    Around this same time, TEEKAYE was the subject of another Emergency Petition

by the Howard County Police Department 5 and was hospitalized at the Psychiatric Institute of

Washington (PIW). TEEKAYE said during his intake interview at the Regional Institute for

Children and Adolescents (RICA) that he was admitted to PIW, “…because I was a danger to

myself and others...It means I was making threats, saying I wanted to kill my parents or

something…because I was angry at them…because they kept getting me mad and angry, I guess.

They were screaming at me and stuff…I guess because of what happened with the FBI and

stuff…They found stuff on my phone…like radical Islam stuff.” The PIW admission assessment

documented that TEEKAYE was found to be “obsessed with Muslim culture, posting social media

with terrorist material, threatened to kill all Americans, threatened to kill [his] parents. His

outpatient psychiatrist was concerned about his homicidal ideation and increasing aggression.”

         12.    On February 7, 2020, TEEKAYE was interviewed by FBI agents at his home. This

interview took place in the presence of his parents because he was then 16 years old. TEEKAYE

was interviewed because of online, publicly accessible postings indicating possible identification

with radical Islam. TEEKAYE admitted being in contact with “fighters” and said that, at times,

he planned to become a fighter in an overseas location. TEEKAYE told the agents his desire to

go overseas as a fighter had waned, and he felt he was being used by people online. TEEKAYE




5
    See Howard County Police Department Case No 20-6771.

                                                5
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claimed that he was no longer radicalized. He also said that because the FBI was watching him, he

would not have a chance to pursue efforts to fight overseas.

         13.    On July 19, 2022, a Howard County police officer (Officer 1) responded 6 to an

elementary school in Columbia, MD, regarding a male subject in the school parking lot wearing a

black face mask and holding a large, fixed-blade knife. This individual was later identified as

TEEKAYE, who was then 18 and an adult. TEEKAYE refused to speak with Officer 1 and kept

stating “you need to leave.” Eventually TEEKAYE complied with Officer 1’s verbal commands

to drop the knife. During the search of TEEKAYE incident to arrest, a second pocketknife was

found on TEEKAYE’s person. While in custody, TEEKAYE made several comments to Officer

1 that he was going to get the knife back and kill all the officers. During an interview, TEEKAYE

stated he was at the school to fight a classmate with whom he was having conflicts.

         14.    Following the incident, TEEKAYE pleaded guilty to a misdemeanor charge of

disorderly conduct, and was given Probation Before Judgment and placed on supervised probation

until September 2025. 7

      B. In 2023, TEEKAYE expressed an intent to join ISIS in Africa

         15.    Between March 11, 2023 and April 13, 2023, TEEKAYE had multiple

conversations with a female Undercover Officer (UCO) via Instagram and WhatsApp. The UCO

preserved these communications. In a conversation using Instagram on March 11, 2023,

TEEKAYE and the UCO discussed Islam, and TEEKAYE described himself as a “revert.”




6
    See Howard County Police Department Incident Report for Case No: 220063021.
7
    See District Court of Maryland for Howard County Case No: D-101-CR-22-000889.

                                                6
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TEEKAYE also messaged the UCO about how he had refrained from certain online activity in

order to avoid law enforcement scrutiny:

       “I remember when my accounts would get shut down all the time Because of them
       not liking what I was posting until I just stopped posting those things Because also
       it brings the feds to keep an eye on you on here as well.”

       16.     On March 28, 2023, TEEKAYE engaged in a conversation on WhatsApp with the

UCO using a phone number ending in 8887. Based on my knowledge, training, and experience,

people who are concerned about being detected by law enforcement often use WhatsApp

messaging because it is end-to-end encrypted. In this March 28 conversation, TEEKAYE talked

about wanting to go to Africa. He asked the UCO, “Would you possibly want to go in the same

path as me?” The UCO responded, “Which is ?? Lol idk [I don’t know] your path.”As shown

below in Photo 1, TEEKAYE replied, “My goal when I get to Africa is Fisabilillah 8 to make

Allah’s works the highest And to work to establish sharia And khilafah.” He also asked whether

the UCO had a passport or had access to a passport. TEEKAYE also stated he would delete the

messages after UCO’s response. Based on my knowledge, training, and experience, people often

delete messages sent to one another when they want to avoid detection by law enforcement.




8
 “Fisabilillah,” alternatively spelled “Fi sabilillah,” is an Arabic expression meaning “in the cause
of God” or “for the sake of God.”

                                                 7
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                                                Photo 1


       17.    The UCO then asked TEEKAYE which group in Africa he would want to join,

saying, “So I know there are multiple groups in Africa but which one[?]” TEEKAYE responded,

“The Dawlah,” and then deleted the message. As noted above, “dawlah” or “dawla” is another

term for ISIS. Below is a transcript of part of the communication that followed:

       [2:03 PM, 3/28/2023] UCO: You mean !s 9 or al shabaab ?
       [2:03 PM, 3/28/2023] TEEKAYE: !s

9
 Based on my knowledge, training and experience, it is common for individuals who wish to evade
social media censors to utilize “!s” to denote the Islamic State or ISIS.

                                                8
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...
         [2:05 PM, 3/28/2023] UCO: !s as a Mujahideen? 10
         [2:05 PM, 3/28/2023] TEEKAYE: Yes
         [2:05 PM, 3/28/2023] TEEKAYE: Do you have the same goals?
         [2:06 PM, 3/28/2023] UCO: Yeah I do
         [2:06 PM, 3/28/2023] TEEKAYE: Al hamdulillah 11
         [2:06 PM, 3/28/2023] TEEKAYE: Delete some stuff as well in the chat you wrote

         18.    When the UCO asked if TEEKAYE had pledged to ISIS, TEEKAYE responded:

         “No I haven’t but the thing is to avoid suspicion I’ll be in an African country near
         to the countries where jihad is taking place, and Insha’Allah when the time comes
         or when I feel it’s right I’ll move into those countries and travel to them for either
         ‘business’ purposes or for other ‘reasons.”’

He added, “And a lot of the places jihad occurs in west Africa has alot of lawless terrain etc.”

         19.    Later in the conversation, TEEKAYE asked the UCO whether the UCO would be

comfortable leaving the UCO’s family and going to Africa with TEEKAYE.                     The UCO

responded: “Well please don’t take this the wrong way but I can’t marry you.. I’m not looking for

marriage.. it’s a lot to it that I can’t explain through the phone but in shaa allah when we meet I

will explain to you why.”

      C. TEEKAYE stated he will conduct an attack against Jews or supporters of Israel in
         Maryland

         20.    On April 12, 2023, TEEKAYE told the UCO via WhatsApp, “If I don’t become a

mujahid there I will become a mujahid here lol.” The UCO asked whether TEEKAYE meant he

would do an attack here in the United States, and TEEKAYE replied in the affirmative. The UCO



10
  “Mujahid” (pluralized as “mujahideen”) is an Arabic term that refers to a person who fights on
behalf of Islam or the Muslim community.
11
   “Al hamdulillah,” alternatively spelled “alhamdulillah,” is an Arabic phrase meaning “praise be
to God.”

                                                   9
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asked TEEKAYE whether he had thought about where he would conduct an attack in the United

States. The following is a portion of the conversation that followed:

        [11:40PM, 4/12/2023] TEEKAYE: Lol any place or higher up person that supports Israel
        as a country that’s near me
        [11:40 PM, 4/12/2023] TEEKAYE: You talking like you want to do an attack with me
        hahahahah
        [11:43 PM, 4/12/2023] TEEKAYE: But Hijra is my plan A
        [11:43 PM, 4/12/2023] UCO: What place has the most Israeli
        [11:44 PM, 4/12/2023] TEEKAYE: One near me in Columbia
        [11:44 PM, 4/12/2023] TEEKAYE: Like 7 minutes away
        [11:44 PM, 4/12/2023] TEEKAYE: I think or more
        [11:45 PM, 4/12/2023] UCO: You mean like jews or Israeli supporters
        [11:46 PM, 4/12/2023] TEEKAYE: Both

        21.     In WhatsApp conversations with the UCO on April 12-13, 2023, TEEKAYE

clarified that “plan A” is to go overseas, specifically West Africa, to conduct an attack.

TEEKAYE stated that “plan B” is to conduct an attack in the U.S., but it is “too risky anyways.”

    D. TEEKAYE trained with firearms and attempted to purchase a firearm

        22.     On May 20, May 31, and June 14, 2024, TEEKAYE purchased ammunition and

range time at Cindy’s Hot Shots (CINDY’S) on-site shooting range in Severn, Maryland. Range

footage of TEEKAYE was available from June 14, 2024. The footage showed TEEKAYE

loading the rifle and firing multiple rounds. TEEKAYE can also be seen using his cell phone to

take photos/video of the rifle and of himself firing the rifle. Below is a still photo from that footage,

Photo 2:




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                                             Photo 2

       23.     In or about June 2024, TEEKAYE, using Instagram, posted the following series of

photos from CINDY’S shooting range. Photos 3 and 4 depict TEEKAYE manipulating and firing

a rifle, and Photo 5 depicts the rifle. The blurring of TEEKAYE’s face in Photo 3 appears in the

original Instagram post.




                                              11
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                                            Photo 3

       24.     The caption for the series of Instagram photos reads, “In Sahih Muslim, the Prophet

(saws) 12 said, ‘Practice archery and practice horse riding, and that you practice archery is more



12
  “Saws” is an abbreviation for “sallallahu alayhe wasallam,” an Arabic phrase meaning “peace
be upon him.”

                                               12
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beloved to me than that you practice riding.”’ Based on my knowledge, training, and experience,

I know this quote to be taken from an Islamic hadith 13 used by extremists to justify preparation for

violent acts.




                                              Photo 4



13
  Hadith (also used in the plural) is the body of sayings or traditions of the Prophet Muhammad,
used by Muslims as a major source of religious law and moral guidance.

                                                 13
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                                       Photo 5

      25.       On July 12, 2024, TEEKAYE attempted to purchase a Kalashnikov K-9 9mm

rifle at CINDY’S. Photo 6 is an image of TEEKAYE at CINDY’S:

                                         14
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                                           Photo 6

       26.        In Photo 6, TEEKAYE is seen wearing a black beanie, black T-shirt with

‘Under Armour’ written in gray lettering, and khaki-colored pants. Pictured in Photo 7 below is

the exact rifle TEEKAYE attempted to purchase:




                                           Photo 7




                                              15
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         27.       The purchase was denied on July 16, 2024 because TEEKAYE is currently on

probation. 14

         28.       In late July 2024, FBI Baltimore interviewed TEEKAYE’s assigned Maryland

probation officer. The probation officer told FBI Baltimore that if TEEKAYE had access to a

firearm or attempted to buy a firearm it would be a violation of one of the conditions of his

probation. Specifically, the terms of TEEKAYE’s probation state he must “get permission from

the court before owning, possessing, using, or having under your control any dangerous weapon

or firearm of any description.”

         29.       In the same conversation, the probation officer stated that to her knowledge,

TEEKAYE has been complying with the conditions of his probation. However, the probation

officer told your Affiant that TEEKAYE was impulsive and irrational and, based on her training

and experience and personal perceptions of TEEKAYE, he could be the type to engage in violent

activity such as a mass shooting.

      E. TEEKAYE has continued to make plans to travel to Africa and join ISIS

         30.       In or about late July 2024, TEEKAYE told an FBI Confidential Human Source

(“CHS”) of known reliability that he had met a female on Instagram who claimed to be in a refugee

camp in Syria known to hold females associated with ISIS. TEEKAYE told the CHS that the

female put him in touch with “brothers” 15 on the messaging application Telegram. TEEKAYE




14
     See District Court of Maryland for Howard County Case No: D-101-CR-22-000889.
17
  Based on my knowledge, training and experience, I know “brothers” to be a term often used to
refer to individuals associated with ISIS.

                                               16
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told the CHS that according to the female and/or the “brothers,” he was supposed to fly to Ethiopia

and then go to a neighboring country.

       31.         In or about early August 2024, in conversations with the CHS using Instagram,

TEEKAYE said he had decided to go to Angola with his father for work rather than joining ISIS.

TEEKAYE explained his change of heart was due to inconsistencies in what the Syrian female

and the “brothers” on Telegram were telling him about the travel. Additionally, TEEKAYE

expressed concern about not looking Somali and not blending in if he traveled there. TEEKAYE

also said he was worried about “getting caught” by the “feds” for planning his trip to Ethiopia.

TEEKAYE said he decided to delete the Telegram account he was using. When the CHS asked

why TEEKAYE was deleting his account, TEEKAYE responded that he was, “getting rid of

evidence.” TEEKAYE also said that when he expressed interest in joining ISIS in West Africa,

the Syrian female made statements that TEEKAYE felt showed her to be incompetent.

TEEKAYE told the CHS that he felt going now would be impulsive and that there was no rush to

go now.

       32.         However, subsequently, on August 16, 2024, TEEKAYE had an audio

conversation via WhatsApp with the UCO during which TEEKAYE told the UCO he was in

contact with a Somali ISIS fighter regarding his plans to travel to Somalia to join ISIS. TEEKAYE

told the UCO that according to the Somali ISIS fighter, TEEKAYE was supposed to fly first to

Turkey, then to Ethiopia, and then cross the border into Somalia. TEEKAYE told the UCO that

the Somali ISIS fighter made TEEKAYE an Ethiopian e-Visa to facilitate his travel. TEEKAYE

provided the UCO the below photo of the e-Visa, which contained TEEKAYE’s biographical

information and passport number, and which expired September 2, 2024:


                                                17
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                                                Photo 8

The emoji obscuring TEEKAYE’s photo in the e-Visa is from the original image TEEKAYE

sent to the UCO.

       33.     Based on my knowledge, training, and experience, the acquisition of a valid

passport and e-Visa obtained from an individual TEEKAYE identified as associated with ISIS,

coupled with professed desires to join and conduct an attack with ISIS, indicate concrete steps

taken to provide material support to a foreign terrorist organization.

       34.     In the same August 16, 2024 WhatsApp audio conversation with the UCO,

TEEKAYE confirmed to the UCO that while he previously had planned to do an attack based in

the United States, he has no current plans to do so. TEEKAYE explained that at the time he

thought an attack in the United States would be easier because he could more readily get the
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supplies needed. He further explained he thought he would be able to do the attack and then easily

flee the country.

        35.     In the same August 16, 2024 conversation with the UCO via WhatsApp,

TEEKAYE originally said he went to the shooting range to train and then just because he enjoyed

it. Later in the conversation, TEEKAYE told the UCO that ISIS might not be the right group to

join. TEEKAYE told the UCO he is currently focused on gaining knowledge and bettering himself

until the right door opens. TEEKAYE reaffirmed his desire to leave the United States for West

Africa, but said he is not sure if he is going to join a Jihadi group.

        36.     In a follow-up WhatsApp text conversation later that day with the UCO,

TEEKAYE said “…to go over to a country and join a group is not a good option especially as a

woman… Even for myself, I’ve been going to the masjid and trying to learn as much about the

deen 16 as possible and also trying to save up money and get into new things like my dads business

or even cyber security.”

        37.     In a September 1, 2024 conversation with the UCO via WhatsApp, TEEKAYE

restated his intention to be an ISIS fighter. TEEKAYE told the UCO that he would “have to go to

a training camp” once he travels. At one point in the conversation, TEEKAYE asked whether the

UCO would want to get married once they were overseas. The UCO replied, “Yeah if allah

permits.” TEEKAYE later said that the UCO’s role would be similar to that of the other wives of




16
   “Deen,” also anglicized as “din,” is an Arabic word referring to the way of life Muslims must
adopt to comply with divine law.

                                                  19
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ISIS fighters. TEEKAYE remarked that the UCO would have tasks “like even cleaning my rifle

maybe.”

        38.     Additionally, on September 1, 2024, TEEKAYE sent the UCO via WhatsApp an

article titled “Terrorists at the gates of Niamey.” The article states that armed groups of “terrorists”

have taken control of Tillaberi, near the Nigerian capital of Niamey. TEEKAYE told the UCO,

“There was also an attack today by Daesh in Niger.” The following day, TEEKAYE sent the

UCO a link to a news story about a person who was arrested after planning to join the Islamic State

in Somalia.

        39.     In a September 2, 2024, conversation with the UCO via WhatsApp, TEEKAYE

stated, “imagine we both get martyred 17 or you get martyred before me.” In a follow-up

conversation on September 3, 2024, TEEKAYE stated that women who get martyred “go down

to the lowest heaven to watch their husbands who are still alive, fight in battle.”

        40.     In a September 26, 2024, conversation with the UCO via WhatsApp, TEEKAYE

stated that an ISIS “brother” from Somalia reached out to him. TEEKAYE told the UCO that the

“brother” is preparing another e-visa to Ethiopia and a plane ticket for him. Furthermore,

TEEKAYE stated he should be ready to travel as early as September 30, 2024. Specifically,

TEEKAYE stated, “I gave him my information again and he’s working on my visa…I think I

might be out of the country by the 30th.” In a follow-up conversation, TEEKAYE told the UCO

he assumed he would be leaving Wednesday or Thursday, but that the “brother” will tell him later.



17
  Based on my knowledge, training, and experience, I know that individuals associated with
ISIS commonly discuss becoming a “martyr,” by which they mean dying in a battle or attack
they are engaged in on behalf of ISIS.

                                                  20
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TEEKAYE stated he will be traveling from the airport closest to him directly to Ethiopia.

However, he subsequently clarified that the “brother” told him he would first fly to Turkey.

       41.     In additional conversations with the UCO on September 26, 2024, TEEKAYE

agreed to meet with the UCO before he traveled out of the country. Initially, TEEKAYE and the

UCO scheduled the meeting for September 30, 2024. That meeting did not occur. In subsequent

conversations on or about September 29, 2024, TEEKAYE suggested meeting either Thursday,

October 3 or Friday, October 4. When asked whether TEEKAYE would like the UCO to drive

him to the airport when he departs for Ethiopia, TEEKAYE stated “that is fine.”

       42.     On October 1, 2024, TEEKAYE sent the UCO an image of the new Ethiopian e-

visa he received from the “brother,” shown as Photo 9 below. The new Ethiopian e-Visa is valid

until October 28, 2024.




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                                           Photo 9

        43.     Also on October 1, 2024, the UCO told TEEKAYE to let the UCO know when

TEEKAYE booked his plane tickets so the UCO could provide TEEKAYE with some money

before his flight.

        44.     On October 3, 2024, TEEKAYE met in person with the UCO. TEEKAYE told

the UCO that the “brother” said he would help TEEKAYE buy his plane tickets. TEEKAYE

stated he was serious about going this time. When the conversation turned to money, the UCO

said the UCO would still be willing to help TEEKAYE when he was overseas. TEEKAYE

indicated to the UCO that he did have some money saved and that he got a job at Restaurant 2 and

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was scheduled to start orientation the following week. TEEKAYE said he would get paid $15 per

hour on top of roughly $100 per day in tips. When the UCO asked whether TEEKAYE was

nervous about leaving, TEEKAYE said no, that he could not stop thinking about leaving, and that

once he left he was not coming back. When the UCO asked what TEEKAYE would do if the

“brother” wanted TEEKAYE to leave before the UCO could give TEEKAYE money,

TEEKAYE said he would leave immediately and the UCO would not need to meet up with him.

TEEKAYE stated they could figure out how the UCO could send money to TEEKAYE once he

made hijrah. TEEKAYE stated he was only nervous about traveling by himself and getting

through security at the airport because he was afraid the police would get him.

       45.     On October 4, 2024, TEEKAYE told the UCO via WhatsApp that he received a

ticket from the “brother” for British Airways flight BA228 on October 14, 2024 at 9:25pm with a

final destination of Turkey, departing from Baltimore/Washington International Airport (BWI),

with a layover at London Heathrow Airport. TEEKAYE sent the UCO screenshots of the travel

itinerary. The UCO told TEEKAYE the UCO would meet up with TEEKAYE before his flight

that day and take him to the airport.

       46.     Later on October 4, 2024, TEEKAYE asked the UCO via WhatsApp whether the

UCO would “still want to get married once we’re both over there?” The UCO replied, “In shaa

allah.. let’s focus on you getting there first and then we will continue this topic.” TEEKAYE

replied, “Ofc.” Later in the day, the UCO asked TEEKAYE, “You’re not making hijrah because

of me right?” TEEKAYE responded “No,” and added, “I’ve been wanting to go.” The UCO said,

“Lol haha ok good I was just making sure.” TEEKAYE added, “My Hijra to those lands is to

only please Allah and help the religion and Muslims.” TEEKAYE also explained that the reason


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he had delayed making Hijra in the past months was because he wanted to settle problems he was

having with a particular masjid. TEEKAYE added, “Before I do serious things like what I’m

about to do with Hijra I like to assess the situation and be a little patient.” TEEKAYE also said,

“And btw I see for you not making Hijra or taking action is a deal breaker when it comes to

marriage and other things.” He added, “So maybe that’s why you thought I was only doing it for

marriage.” The UCO responded, “Alhamdulillah that’s how it’s supposed to be.” TEEKAYE

replied, “Yeah ofc.”

       47.     In October 2024, investigators received records from British Airways pursuant to a

federal grand jury subpoena. The records confirmed that flights were booked for TEEKAYE

departing from BWI on October 14, 2024 at 9:25PM, traveling to London Heathrow Airport, and

then continuing on to Istanbul, Turkey. Return flights were booked departing Istanbul on October

21, 2024, traveling to London Heathrow Airport, and continuing on to BWI. The records also

indicated that the flights were booked through a third-party travel agency based in Germany, and

that the fare was $383.00 in US dollars (equivalent to 347.00 Euros), plus 478.10 Euros in tax, for

a total of 825.10 Euros. The passenger phone number listed for TEEKAYE was a Czech phone

number not otherwise known to be associated with TEEKAYE. Based on my training,

knowledge, and experience, I know that individuals who wish to evade detection by law

enforcement will commonly attempt to obfuscate the source of their purchases by using third party

purchasers and/or by providing false contact information. I also know that individuals who make

arrangements to travel overseas to join an FTO will commonly purchase round-trip airfare to avoid

arousing suspicion by law enforcement.




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       48.     On October 10, 2024, TEEKAYE sent the UCO the below photo of himself

wearing a black mask and t-shirt and holding a large machete, along with the caption “Abdullah

the islamophobe slayer.”




                                             Photo 10

       49.     On October 11, 2024, the UCO said, “That’s a sick machete. Where did you get

that from ? Lol I’m surprised your parents allowed you to keep that.” TEEKAYE responded, “On

Amazon and eBay,” and sent the UCO a link to a similar machete for sale on Amazon. TEEKAYE

explained that the machete was banned in the United Kingdom, and he told the UCO to “buy it

after I leave just in case they track you or something.” TEEKAYE later added, “Victory or

shahada.. either you do it here or over there or both.” Based on the context, as well as my training,
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knowledge, and experience, I believe that TEEKAYE was referring to carrying out an attack either

here in the United States or from overseas. TEEKAYE then told the UCO, “The brother should

text me on Sunday.” The UCO replied, “You talking about me or you doing something here or

there ?” TEEKAYE responded, “In general I mean.” TEEKAYE then explained, “Because I

would never want you or any person who I’m in contact with who knows to get taken

captive.” Based on the context, as well as my training, knowledge and experience, I believe

TEEKAYE was indicating that he would not want the UCO to carry out an attack in the United

States and get “taken captive,” i.e., arrested by law enforcement. TEEKAYE then indicated he

was not even sure the UCO should go into the airport with him, “Cuz there’s cameras everywhere

lol.” The UCO responded, “Yeah completely understand. It makes sense.”

       50.     Later on October 11, 2024, the UCO asked, “[A]re you sure you want to make

hijrah to dawlah ? Because you know once you go there’s no coming back.” TEEKAYE

responded, “I am sure I did a lot of research and had to accept something’s that they are the only

group that has the most true and sincere intentions.” TEEKAYE added, “And like I told you

before I made sure to get rid of any doubts.”

       51.     On October 13, 2024, the UCO informed TEEKAYE that the UCO would not be

able to drive TEEKAYE to the airport because of a family emergency. TEEKAYE said he

understood.

       52.     On October 14, 2024, FBI agents observed TEEKAYE travel to BWI airport in a

rideshare vehicle, check in for flight BA 228 bound for London, and proceed through the security

checkpoint. TEEKAYE was arrested at approximately 5:59PM. After being advised of his

Miranda rights, TEEKAYE made the following unprovoked statements, among others: “I’ll just


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get out in 20 years and do something here. Okay? Okay? You will never stop me. Jihad will

never stop.” TEEKAYE also made reference to a recent attack in which ISIS prison inmates

killed four Russian penal colony guards. He continued, “I’ll be like 40 when I get out, then I’ll

just do it. I don’t care. You will never stop me. Jihad will never stop. I’ll come and I’ll kill your

soldiers. I’ll kill you, and I’ll kill . . . .” While making these statements, TEEKAYE began kicking

one of the FBI arresting agents. He then stated that he hoped to “kill a guard” while in prison.

       53.     Shortly after TEEKAYE was arrested, FBI agents executed a search warrant at his

residence in Hanover, Maryland. From TEEKAYE’s room inside the residence, agents recovered,

among other things, Islamic books and teachings, Al Qaeda banners, and a laptop computer. From

a hallway closet inside the residence, the agents recovered a large machete consistent with the one

TEEKAYE is seen holding in Photo 10 above. TEEKAYE’s father told FBI agents that he had

found the machete in TEEKAYE’s room and had taken it from him and stored it in the closet.

       54.     Based on my knowledge, training, and experience, I know that ISIS recruits and

attracts individuals to join and fight for ISIS and to conduct violent terrorist attacks in the service

of ISIS’s objectives. The provision and attempted provision of such material support in the form

of personnel and services violates federal law.

       55.     TEEKAYE’s many conversations with both the UCO and the CHS over time, as

well as his concrete steps to, among other things, train with firearms, attempt to purchase a firearm,

obtain a passport, make contact with individuals identifying as ISIS to acquire an e-Visa and airline

tickets, and proceed to the airport to board the flight, all support the conclusion that he intended

and attempted to provide material support to ISIS, a foreign terrorist organization. In addition,

TEEKAYE’s comments about deleting evidence and avoiding scrutiny by the “feds” indicate to


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me that he knew ISIS was a designated foreign terrorist organization, understood the criminal

nature of his plans, and wanted to be careful to minimize the chance that he would be thwarted by

law enforcement.

       56.     WHEREFORE, based on the foregoing facts, I submit that there is probable cause

to believe that Michael Sam TEEKAYE has attempted to provide material support to a designated

foreign terrorist organization, in violation of 18 U.S.C. § 2339B.



                                                  Respectfully submitted,



                                                   onnaathan D. Evans, Special A
                                                  Jonathan                     Agent
                                                  Federal Bureau of Investigation


Affidavit submitted by email and attested to me as true and accurate by telephone, in accordance
with Fed. R. Crim. P. 4.1 and 4(d) this ______
                                          15th day of October 2024.



                                             _________________________________
                                             The Honorable Erin Aslan
                                             United States Magistrate Judge




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